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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

UNITED STATES OF AMERICA                     )      CRIMINAL NO. 2:20-cr-541
                                             )
                                             )              18 U.S.C. § 2
                                             )              18 U.S.C. § 231
              v.                             )
                                             )
                                             )
TEARRA NA’ASIA GUTHRIE                       )              INFORMATION
                                             )


                                           COUNT 1

THE UNITED STATES ATTORNEY CHARGES:

       That on or about May 30, 2020, in the District of South Carolina, the Defendant, TEARRA

NA’ASIA GUTHRIE, did knowingly commit acts to obstruct, impede, and interfere with any law

enforcement officer lawfully engaged in the lawful performance of official duties incident to and

during the commission of a civil disorder, which in any way and degree obstructed, delayed, and

adversely affected commerce and the movement of any article and commodity in commerce and

the conduct and performance of any federally protected function;

       In violation of Title 18, United States Code, Sections 231(a)(3) and 2.



                                             s/Peter M. McCoy, Jr.
                                             PETER M. MCCOY, JR. (el)
                                             UNITED STATES ATTORNEY
